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MIE 800 Generic Notice of Hearing (Rev. 3/98)



                                                UNITED STATES DISTRICT COURT
                                                EASTERN DISTRICT OF MICHIGAN
                                                     SOUTHERN DIVISION


          SUBHIEH JEBRIL,
                                                                    CASE NUMBER: 05-70840
                                        Plaintiff,
                                                                    HONORABLE GERALD E. ROSEN
          v.

          UNITED STATES OF AMERICA,

                                        Defendant.
                                                          /


                                                     AMENDED NOTICE OF:
                                                     STATUS CONFERENCE

                    You are hereby notified to appear before the Honorable Gerald E. Rosen, United States
          District Judge for the above proceeding on:



                                 DATE                           TIME                   ROOM 733

                                                                              Theodore Levin U.S. Courthouse
               MONDAY, SEPTEMBER 8, 2008                      11:00 A.M.
                                                                                    231 W. Lafayette
                                                                                 Detroit, Michigan 48226




                                                     CERTIFICATE OF MAILING


          I hereby certify that a copy of the foregoing document was served upon counsel of record on August 8,
          2008, by electronic and/or ordinary mail.

                                                                  s/LaShawn R. Saulsberry
                                                                  Case Manager
                                                                  313-234-5137
